            Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 1 of 22




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______________________________________________________________________________
                            UNITED STATES DISTRICT COURT
                                             For the
                                 Western District of Oklahoma

QUILL INK BOOKS LIMITED, a
foreign corporation,                                      )
               Plaintiff                                  )
                                                          ) Civil Action No. CIV-18-920-G
                  v.                                      )
ABCD GRAPHICS AND DESIGN d/b/a                            )
Blushing Books, et al.                                    )
            Defendant                                     )

                           DEFENDANT’S RESPONSE TO COMPLAINT

                                                  SUMMARY:

1. Plaintiff’s Complaint filed October 17, 2018 (“Complaint”) is nearly two hundred pages of

    allegations, arguments, and exhibits. All of these can be reduced to a single question: Were

    ABCD Graphics and Design/Blushing and/or Rachelle Soto (publishing as Addison

    Cain/Soto) justified in filing a Digital Millennium Copyright Act take down notice against a

    series of books written by Zuri Amarcya (publishing as Quill Ink Books Limited/ Zoey Ellis),

    or did the two entities deliberately and knowingly misuse the system for unlawful financial

    enrichment?

2. The Complaint’s paragraphs not specifically addressed in this Response are denied.

                                           NATURE OF ACTION

3. Defendant Blushing Books a c k n o w l e d g e s t h a t P l a i n t i f f h a s a l l e g e d , i n t e r

    a l i a , v i o l a t i o n s o f c o p y r i g h t l a w s a n d o t h e r t o r t s , but deny that they engaged
           Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 2 of 22




    in any such violations. Except as expressly admitted, B l u s h i n g B o o k s denies the

    remaining allegations in Paragraphs 1-107 of the Complaint.



MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION AND IMPROPER

                                               VENUE

Blushing Books incorporates by reference their responses to the foregoing paragraphs as if fully

set forth herein.

4. Pursuant to Federal Rules of Civil Procedure, and for the reasons included in the arguments

    and authorities cited herein, Defendant Blushing Books moves to dismiss the complaint in its

    entirety on the grounds that the Court lacks personal jurisdiction over Defendant, and that

    Oklahoma is not the proper venue for adjudication of claims between a British plaintiff and a

    Virginia defendant over a dispute with no connection to the State of Oklahoma.



5. Answering Complaint paragraph #5: The court lacks subject matter jurisdiction, personal

    jurisdiction, and general jurisdiction in this matter for the reasons outlined below. Defendant

    Blushing denies Plaintiff’s Paragraph 5.



6. Answering Complaint paragraph #6: Defendant Blushing Books does not have sufficient

    ties to Oklahoma—its ties to this Judicial District are, in fact, non-existent. Undersigned

    Counsel provides the following offer of proof: Blushing Books’s owner and CEO has never

    once been to Oklahoma for business or otherwise. Since Zoey Ellis’ first book came out in

    January 2018, Blushing has done a microscopic $159.63 in sales in Oklahoma indirectly

    through its publisher branded store. They have no offices in Oklahoma, do not attend
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 3 of 22




   conferences in Oklahoma, do not have employees residing in Oklahoma, and do not

   purposefully seek out any business or clients in Oklahoma. Powers v. District Court of Tulsa

   County, 2009 OK 91, ¶7, 227 P.3d 1060. Moreover, they do not have property here, do not

   direct or conduct activities here, and forcing them to litigate a lawsuit hundreds of miles from

   their residence and place of business offends due process principles.



7. Answering Complaint paragraph #7: The Western District of Oklahoma is not the

   proper venue for this action. No events giving rise to these allegations took place in

   Oklahoma. Further, no parties listed in lawsuit live in Oklahoma, are incorporated or

   Oklahoma, or have sufficient ties to Oklahoma. The Complaint asserts that venue in the

   Western District of Oklahoma is proper under 28 U.S.C. § 1391(a)(2), which authorizes

   venue in "a judicial district in which a substantial part of the events or omissions giving rise

   to the claim occurred." Quill has the burden of showing that venue is proper in this Court

   '"with respect to each cause of action."' The accompanying sections make plain that

   Blushing Books does not have sufficient "minimum contacts" with the Western District of

   Oklahoma to support personal jurisdiction for any of Quill's claims. But even if it were

   otherwise, it would be incontrovertible that "a substantial part of the events or omissions

   giving rise to the claim" did not occur in Oklahoma 28 U.S.C. § 1391(a)(2) (2008). In short,

   nothing in Quill's complaint suggests that any part, let alone "a substantial part" of any of its

   baseless, meritless claims arose from events or omissions in the Western District of

   Oklahoma. The disputed acts giving rise to the claims have no connection with the District.

   The Court therefore lacks jurisdiction over Blushing Books for Plaintiff’s claims.

   Accordingly, venue is improper, and the suit should be dismissed.
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 4 of 22




8. Personal jurisdiction is an "essential element" of a court's jurisdiction, "without which the

   court is powerless to proceed to an adjudication." Ruhrgas AG v. Marathon Oil Co., 526 U.S.

   574, 584 (1999) (internal quotation marks omitted). The burden of establishing personal

   jurisdiction lies with the plaintiff, who must allege specific acts connecting the defendant

   with the forum. Gilbert v. Security Financial Corp., 2006 OK 58, ¶2, 152 P.3d 165; Conoco,

   Inc. v. Agrico Chemical Co., 2004 OK 83, ¶20, 115 P.3d 829. Quill Books does not, and

   cannot, meet that burden.

9. Recent United States Supreme Court jurisprudence has further narrowed the scope general

   jurisdiction, developing the “at home” doctrine to determine whether jurisdiction is proper—

   that the proper inquiry does not focus on “continuous and systematic contacts” but whether a

   corporation’s affiliations with the State “are so continuous and systematic as to render it

   essentially at home in the forum state.” See Goodyear Dunlop Tires Operations, S.A. v.

   Brown, 131 S. Ct. 2846, 2851 (2011) and Daimler AG v. Bauman, 134 S. Ct. 746, 754

   (2014). Under the precedent set forth in these cases, Defendant Blushing has even less

   connection with Oklahoma, where they have no place of business, no license to do business,

   and no interaction with the community whatsoever.

10. This is a case brought by a foreign company against a Virginia company- Quill 's own

   allegations place the residence of the parties outside Oklahoma. see Compl. In short, the

   Western District of Oklahoma has nothing to do with this dispute.

11. Under Oklahoma law, specific jurisdiction over a nonresident defendant is governed by the

   long-arm statute. In order for a nonresident defendant to be amenable to suit

   in Oklahoma under the Oklahoma long-arm statutes, the cause of action must arise out of the
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 5 of 22




   same acts which provide the basis for the Oklahoma court's exercise of in

   personam jurisdiction. George v. Strick Corp., 496 F.2d 10 (10th Cir.1974); Roberts v. Jack

   Richards Aircraft Co., 536 P.2d 353 (Okl.1975); Crescent Corp. v. Martin, 443 P.2d 111

   (Okl.1968).

12. In determining the sufficiency of contacts between nonresident defendants and the state

   of Oklahoma so as to exercise in personam jurisdiction under the long-arm statutes, the Court

   is to consider the totality of contacts between the nonresident defendant and the state. Lyon

   v. Bonneson, 451 F.Supp. 441 (W.D.Okl.1977); Northwest Animal Hospital, Inc. v.

   Earnhardt, 444 F.Supp. 10 (W.D.Okl.1977); Gregory v. Grove, 547 P.2d 381 (Okl.1976). If a

   foreign corporation or an individual voluntarily elects to act within this State, whether

   directly or indirectly, he should be answerable in Oklahoma courts. See B.K. Sweeney Co. v.

   Colorado Interstate Gas Co., 429 P.2d 759 (Okl.1967); Marathon Battery Co. v.

   Kilpatrick, 418 P.2d 900 (Okl.1965). Here, however, none of Quill's claims arise from

   Blushing Books transacting any business in the District or from Blushing Books causing

   tortious injury in the District.

13. Plaintiff has not made a prima facie showing that this Court has in

   personam jurisdiction over Defendant Blushing Books under 12 Okl.Stat.Supp.1980 §

   187 and 12 Okl.Stat.1971 § 1701.03. Blushing Books is not subject to general jurisdiction in

   Oklahoma for two separate and independent reasons. First, Plaintiff served Blushing Books

   with the complaint in Virginia - not Oklahoma - which alone negates the possibility of

   general jurisdiction. Second, the Complaint alleges no facts relevant to general jurisdiction,

   which may be exercised only where a non-resident corporate defendant has "continuous and

   systematic" contacts with the forum, Monge v. RG-Petro Machinery (Grp.) Co., 701 F.3d
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 6 of 22




   598 (10th Cir. 2012) (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 131 S.Ct.

   2846, 2851(2011)).

14. For the reasons above, Plaintiff Quill's claims do not arise out of the transaction of business

   or tortious injury within the Western District of Oklahoma, and the allegations thus fail to

   meet the requirements for personal jurisdiction over an out-of-state corporation set forth in

   the Oklahoma long-arm statute. For the same reasons, it is also clear that the exercise of

   jurisdiction would not comport with due process. The Western District of Oklahoma has no

   special interest in adjudicating a dispute between a foreign plaintiff and a Virginia company

   over allegations that have nothing to do with the venue. See World Wide Volkswagen Corp.

   v. Woodson, 444 U.S. 286,292 (1980). The Plaintiff is not a resident of the Western District

   of Oklahoma, and consequently the District has little or no interest in providing a forum for

   its claims. Accordingly, the exercise of jurisdiction over Blushing Books would violate the

   constitutional minimum of "fair play and substantial justice." International Shoe Co. v.

   Washington, 326 U.S. 310,316 (1945);

15. This civil action must be dismissed or transferred. Where a court lacks personal jurisdiction

   over a defendant, dismissal is proper. Ruhrgas, 526 U.S. at 584 (without personal

   jurisdiction, "the court is powerless to proceed to an adjudication"). Likewise, a court may

   dismiss a suit where venue is improper. 28 U.S.C. § 1406(a) (2008) ("The district court of a

   district in which is filed a case laying venue in the wrong division or district shall dismiss ...

   such case ... "). Here, where there is neither personal jurisdiction over the defendant nor

   proper venue, this Court has two independent bases for dismissal available. Following

   dismissal, Plaintiff could re-file its suit in a district where jurisdiction and venue are proper,

   if and when it sees fit to do so.
           Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 7 of 22




16. This court lacks jurisdiction over claims brought by an alien corporation against a Virginia

    corporation seeking damages for defamation and other torts. For much the same reasons,

    venue is also improper here. If Quill Ink wishes to pursue its baseless and meritless claims

    against Blushing Books, it must do so in Virginia.

                                  SUBSTANTIVE RESPONSE

Blushing Books incorporates by reference their responses to the foregoing paragraphs as if fully

set forth herein.

17. Answering paragraph #2: Although the Complaint against ABCD Graphics/Blushing and

    Cain/Soto cites the Faleena Hopkins “cocky” trademark dispute in Footnote 1 (in a seeming

    attempt to draw analogies between the two actors), it misrepresents a critical point: Faleena

    Hopkins applied for and was granted a trademark on the use of the word “cocky” in

    romance titles. Whether one agrees with the granting of the trademark or not (and based on

    subsequent amicus filings by Romance Writers’ of America and others, virtually everyone

    (with the obvious exception of Ms. Hopkins) believes that the trademark should not have

    been issued) Ms. Hopkins took no legal action against any other authors until after the

    trademark was granted. Once the trademark was granted, what she did was legally

    permissible, no matter how much she was criticized for it. Plaintiff’s Complaint uses the

    Faleena Hopkins situation as an example of an author harassing other authors, but this is not

    the case.

18. Responding to Complaint Paragraph #3: Plaintiff Ellis/ Quill Ink’s complaint makes the

    allegation that both ABCD Graphics/Blushing and Design and Rachelle Soto have engaged

    in similar acts in the past. This is in fact, the basis of the whole argument: that these tactics
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 8 of 22




   are used as known and ongoing business strategies. Specifically, it is alleged that the two

   entities engaged in some or all of the following: 1) manipulating and/or providing financial

   compensation for reviews; 2) harassing authors; 3) posting negative information about

   competitors to social media; and 4) using the DMCA system to stifle competition and harm

   competitors. Not a single piece of evidence is provided which supports any of these

   claims, and Defendant strongly disputes them.

19. Further, Plaintiff alleges that either Defendants ABCD Graphics/Blushing and/or Cain/Soto

   engaged in these actions against Plaintiff Zoey/Amarcya’s books specifically. Again not a

   single piece of evidence is provided.

20. Answering paragraphs # 18-24: Defendant Blushing does not dispute that Omegaverse is a

   popular, well established forum for fan fiction. Defendant maintains, however, that

   plagiarism, misappropriation, copyright infringement, and intellectual property theft can exist

   in this context, and Blushing firmly believes now (and when they filed the Takedown

   Notices) that Plaintiff Zoey Ellis unlawfully usurped Defendant Cain/Soto’s material.

   Although there are tropes and conventions within Omegaverse, (just as there are conventions

   within “vampire” literature – e.g., vampires cannot come out during the day, they drink

   blood, they live forever, etc.), Plaintiff Ellis went well beyond this point. Plaintiff Ellis is

   writing in the shared literary tradition of Omegaverse, but in addition, she placed her story in

   a setting within the Omegaverse and then proceeded to appropriate dozens of plot points.

   Amarcya/ Quill’s argument almost seems to be the polar opposite of copyright: that because

   there is a shared literary meme or tradition here that cannot be copyrighted, ANY borrowing

   from another work is permissible.
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 9 of 22




21. Answering paragraphs # 25-40: Defendant Blushing denies the allegations contained in these

   paragraphs. Plaintiff argues that because this is an established fan fiction universe with

   common terminology and concepts, they advance the incorrect argument that they are

   essentially immune from plagiarism. To illustrate: An Omega is a character / creature like a

   vampire or a werewolf. No one owns vampire or werewolf literature. For purposes of

   analogy, both “Harry Potter” and “The Lion, Witch and the Wardrobe” feature English

   schoolchildren who enter a magical world, but no one could successfully make the claim that

   J.K. Rowling plagiarized C.S. Lewis. In contrast, if someone published a book in which a

   little orphan girl living with mean relatives got picked up by a guy in a fantastical car and

   taken to a “sorcerer” school where everyone was divided into three houses, wore robes, and

   played games on flying horses, it is likely that Rowling’s material would be infringed. And

   if someone published a book in which children entered a magical world through a china

   cabinet and encountered an evil wizard and a kindly, magical tiger, again this would be too

   close to C.S. Lewis.



22. Copyright exists and is automatic on publication, and registration is not mandatory… even in

   DMCA filings. Registration is, however, required before copyright claims are made in court

   filings. Copyrights have been filed on all of Addison Cain/Soto’s books as of now.



23. Answering paragraphs #58: The statement “consistent with their long-standing practice of

   manipulating commentary … “ is made with no proof whatsoever, is completely false, and

   has now been posted openly to a publicly accessible website and is defamatory to both

   ABCD Graphics/Blushing and Cain/Soto. Not one example is provided to show either
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 10 of 22




   ABCD Graphics/Blushing or Cain/Soto taking any public or private action against Zoey

   Ellis’ titles with the exception of the filing of the DMCA notices (which are not public).



24. Answering paragraphs #58, #59, #60, #61 – all allege that Soto/Cain/Soto and ABCD

   Graphics/Blushing manipulate reviews and/or solicited negative reviews and/or did so

   specifically against Amarcya/Ellis’s books. Not a single supporting example or proof is

   given. While an Amazon account can only leave one review per product, an account can

   leave multiple response comments on other customers’ reviews. Cain/Soto’s request that

   fans up-vote and/or down vote reviews is targeted to fans / readers who left reviews on

   Cain/Soto’s own books. These requests have nothing to do with Amarcya/Ellis’s titles

   whatsoever. This system has been provided as part of the Amazon interface, and one has to

   assume that Amazon expects people to utilize it. Encouraging fans to use it violates no

   Amazon guidelines or terms of service, and is not the same as soliciting or paying for

   reviews.



25. A vendor has no requirement to remove a book based on a DMCA filing, and while Apple,

   Barnes and Noble, and Kobo removed the books from sale, Google Play and Amazon did

   not. Therefore, any loss of income was as a result of the vendor choosing to remove the titles

   and not as a result of the DMCA filing per se.



26. Answering paragraph #65. ABCD Graphics/Blushing continued to harass… through

   emails….    The CEO of ABCD Graphics/Blushing contacted Zoey Ellis on one occasion

   with a polite attempt to resolve the situation. (Exhibit 14 in the original complaint.) This was
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 11 of 22




   the first contact between the two parties and was made prior to Ms. Ellis retaining counsel.

   When no response was received, no further emails were sent by any person employed by

   ABCD Graphics/Blushing. Addison Cain/Soto never contacted Zoey Ellis directly. Her

   attempts to do so were thwarted by the fact that before she ever attempted to reach out to or

   contact Zoey Ellis on Facebook, Zoey Ellis had pre-emptively blocked Addison from seeing

   her Facebook page.    The example included (Exhibit 14) contains ONE email. The

   statement that ABCD Graphics/Blushing “continued to harass Plaintiff and its author through

   emails to intimidate, embarrass, and to cause harm” is false, and has now been posted openly

   to a publicly accessible website and is defamatory to both ABCD Graphics/Blushing and

   Cain/Soto.

     COUNT I – MISUSE OF COPYRIGHT RESPONSE TO PARAGRAPHS 66-69:

   Defendant incorporates and cross references each and every response and argument provided

   throughout this document as if repeated herein.

27. Answering paragraph #69. Their Complaint makes the statement – “some stories build

   alternate societal or cultural traditions…” This is one of the bases for our claim – that

   Alpha’s Claim (and specifically Born to Be Bound) as well as copying an overarching plot

   arc, contains multiple very specific alternate societal “tropes,” virtually all of which were

   copied in Myth of Omega, and that copying went well beyond what is acceptable in a shared

   writing tradition like “werewolves” or “vampires “.

       COUNT II – MISREPRESENTATION, 17 U.S.C. § 512(f): RESPONSE TO

                                    PARAGRAPHS 71-75:

   Defendant incorporates and cross references each and every response and argument provided

   throughout this document as if repeated herein.
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 12 of 22




28. Plaintiff at times appears to be making a “reverse copyright” argument, implying that

   because Omegaverse is a shared universe with many conventions and unifying elements

   among the stories, plagiarism is impossible. To give an analogy: It would be difficult for

   anyone in the U.S. today to be unfamiliar with “The Walking Dead,” a television program

   now in its eighth season set in an America decimated by a plague of zombies. Most

   Americans are also familiar with the Resident Evil series of six films, spread out over

   fourteen years which also deal with a zombie take-over of America. Although the

   basic “tropes” of the worlds are identical, (flesh eating zombies caused by the release of a

   virus decimate mankind) the basic plot lines of Walking Dead and Resident Evil are very

   different. However, should someone attempt to create a film virtually identical to Resident

   Evil, adding only “magic” to the plot and changing genders of protagonists, it is likely a

   lawsuit would quickly result. Plaintiff’s argument at times seems to be that because there are

   quite a few “conventions” in Omegaverse and because Omegaverse itself is not subject to

   copyright, (any more than zombies or vampires are) that within Omegaverse, “anything

   goes” and that plagiarism is not possible.

29. Rather, Blushing gave a formal, corroborated notice to vendors that they believed their

   author’s work had been plagiarized.

30. Answering paragraph #72. Since 2005, ABCD Graphics/Blushing has published in excess

   of 3000 titles. The company has published 1370 titles since Jan 1, 2015.      ABCD

   Graphics/Blushing is in fact one of – if not the – largest digital-first publisher in the world.

   This is roughly one book every week day for 13 years. In that time, they have filed two

   DMCA take down notices against other authors/publishers, the one filed in this matter

   being the second. Addison Cain/Soto has never filed a DMCA take down against another
            Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 13 of 22




   author. The statement that “ABCD Graphics/Blushing and Cain/Soto have engaged in

   similar acts…” is false. Neither ABCD Graphics/Blushing nor Cain/Soto has ever used this

   tactic to “stifle competition.” This has now been posted openly to a publicly accessible

   website and is defamatory to both ABCD Graphics/Blushing and Cain/Soto.

31. Answering paragraph #72. Neither Defendant ABCD Graphics/Blushing nor Defendant

   Cain/Soto has filed any DMCA notices regarding any books in the Omegaverse universe

   with the exception of Plaintiff Zoey Ellis’s Myth of Omega.     The Dragon Maiden Post

   referenced here refers to a blatantly-plagiarized version of Born to Be Bound posted by an

   author to a free erotic story website, “Literotica.” Cain/Soto did not file any legal

   paperwork. Rather, Cain/Soto complained to the owners of Literotica, the claim was

   investigated, and the story removed in 2016.

32. Answering paragraphs #73-#74. DMCA notices were filed against Zoey/Amarcya’s titles

   with good faith belief that copyright had been violated and that Defendants were in

   possession of documentation regarding this violation. As of the receipt of the complaint

   (October 19, 2018), the DMCA filed with Amazon was still open and unresolved. Once a

   final determination would be received from Amazon, a decision to pursue legal copyright

   actions would be made.     Blushing’s decision to not have filed a copyright action as of this

   time is not proof that Defendants did not believe such an action would be successful or is

   valid.

33. Answering paragraph #76. The exact sequence of these filings is confusing as some notices

   were filed prior to the release of Book #3 in the Myth of Omega series, while others were

   filed after.   As far as Defendant knows no DMCA was filed for Book #3 prior to the release

   of Book #3 on May 23rd. However, the basis for Defendants’ claim – that extensive alternate
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 14 of 22




   societal and cultural traditions created by Addison Cain/Soto in her Alpha’s Claim series –

   exist in Myth of Omega. These traditions would carry on into Book #3 even if Book #3 had

   not yet been released.

34. Answering paragraph #77. While “ideas” and “arcs” are not copyrightable, “plots” – when

   the “look and feel” are “substantially similar” or when there is significant “congruence” are.

   It is the belief of Cain/Soto and ABCD Graphics/Blushing that Ellis/Amarcya’s crossed this

   line with Myth of Omega.



35. Answering paragraphs #78, #79, #80 - Thirty plot congruences were listed in a document

   provided to vendors as part of a DMCA take down filing.      ABCD Graphics/Blushing and

   Cain/Soto/Soto disagree that they were incorrect, purposefully inaccurate, misleading, or

   “tropes” of the Omegaverse.    While some could be argued as existing within a “gray area,”

   the vast majority of the thirty are very specific plot instances of Alpha’s Claim and were

   reproduced without variation in Myth of Omega, with the exception that the world of “Myth

   of Omega” brings in a substantial “magic” component (not present in Alpha’s Claim) on top

   of the basic Omegaverse plot . The magic is an adjunct, an “add-on” if you will, put on top

   of the Alpha’s Claim plot, but that if the magic component is removed from Myth of Omega,

   what remains is fundamentally “Alpha’s Claim.”



36. Answering paragraph #82. The DMCA filings were made under penalty of perjury, a fact of

   which both Defendants Cain/Soto and ABCD Graphic/Blushing are aware. The filings were

   made with the good faith belief that copyright had been violated and that Defendant Blushing

   was in possession of documentation regarding this violation.
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 15 of 22




37. Answering paragraph #85 (See Response #33 & 34 – above). Further, Defendant Blushing

   had no duty to Plaintiffs. They do not work with them, are not in contracts with them, and

   have no otherwise relationship that would create a legal duty suitable to create negligence

   liability.



38. Answering paragraph #86: Although ABCD Graphics/Blushing and Soto filed the DMCA

   notices, the vendors themselves made the decision to remove the books from sale. This

   decision was optional. While Draft to Digital’s response to Ellis/Amarcya contains the

   statement “By law, we are required to remove content upon receiving a DMCA takedown

   notice…”. this is false. The DMCA does not require a service provider to take down

   allegedly infringing content. Instead, the DMCA gives service providers an incentive to do so

   by providing that they "shall not be liable for monetary relief" if they comply with a proper

   DMCA notice. Not all service providers have opted into the DMCA system, and even those

   who have opted-in are not obligated to take down content. Moreover, Amazon has never

   removed Plaintiff Ellis’s books and has continued to ignore filings, phone calls, and letters.

   Therefore, any loss of income can be attributed to the vendors’ decision and not the filing per

   se.

                    COUNT IV - TORTIOUS INTERFERENCE WITH

         PROSPECTIVE ECONOMIC ADVANTAGE: Answering paragraph #87-91



   Defendant incorporates and cross references each and every response and argument provided

   throughout this document as if repeated herein.
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 16 of 22




39. ABCD Graphics/Blushing has never made a public statement regarding this matter. On the

   contrary, Plaintiff, Plaintiff’s author, and – seemingly - Plaintiff’s attorney has now made

   extensive public statements and actually created a website, purporting to document “DMCA”

   abuse but which really only discusses ONE case – this one. The complaint includes

   allegations that ABCD Graphics/Blushing



           a. manipulated reviews,

           b. harassed Plaintiff and Plaintiff’s author,

           c. filed the DMCA only to stifle competition

           d. harassed at least one additional author, and

           e. filed knowing that the allegations are false.



40. No evidence is provided regarding any of these allegations, and they are false. Defendant

   ABCD Graphics/Blushing has never posted publicly to any forum regarding this matter, has

   never alleged that Plaintiff’s author has engaged in harassment, and has never discussed this

   situation with anyone other than Soto and counsel.



            COUNT V – MALICIOUS INTERFERENCE WITH CONTRACT

           OR BUSINESS RELATIONS. RESPONSE TO PARAGRAPHS 92-96



Defendant incorporates and cross references each and every response and argument provided

throughout this document as if repeated herein.
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 17 of 22




41. Not a single one of these allegations are supported by a single piece of documentary

   evidence. Further, Plaintiff, Plaintiff’s author, and Plaintiff’s attorney (Ms. Coale) are

   engaging in exactly the behavior of which they are falsely accusing ABCD

   Graphics/Blushing of engaging.



42. Indeed, Zoey/Amarcya has posted publicly to a Zoey Ellis Facebook page that her attempts

   to resolve the issue amicably and instead Defendants “persisted with threats of blackmail and

   attempted intimidation, as well as continued existing attacks against my character and books

   in collusion with others.” Neither ABCD nor Cain/Soto engaged in any behaviors of this

   nature. Furthermore, they did not “ignore attempts to resolve the issue.” What they did

   ignore was a letter from an attorney, Margarita T.B. Coale, who has an extensive and

   documented history of stalking Ms. Cain/Soto on a personal level, and whose involvement

   with this case was never appropriate or proper, and against whom Blushing Books has filed

   an official grievance with the Texas State Office of Attorney Regulation.



43. In addition, Amarcya/ Ellis makes the allegation that they have “similarly targeted” other

   M/F Omegaverse authors and that one author “abandoned” her story after threats and “take-

   down” attempts. No documentation of any of this is provided and every word of it is a

   fabrication, now placed in a public venue with the direct intention of harming ABCD

   Graphics/Blushing, Soto or both.



44. Blushing filed the DMCA take-downs based 100% on Ms. Cain/Soto’s representations

   to Blushing, combined with a detailed comparison to the materials. Blushing conducted
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 18 of 22




   appropriate research and juxtapositions of the works in question, but did not conduct an

   independent investigation to include investigations. What Cain/Soto/Soto provided to

   Blushing contained enough information / evidence for Blushing to state that the two books

   were “substantially similar.” Furthermore, Ms. Cain/Soto DID file DMCA notices on her

   own, demonstrating that each individual party made a determination that Cain/Soto/Soto’s

   works had indeed been plagiarized.



       COUNT VI – DEFAMATION Responding to Complaint paragraphs 97-100:



Defendant incorporates and cross references each and every response and argument provided

throughout this document as if repeated herein.



45. In the Spring of 2018, Ms. Cain/Soto, who has many passionate supporters, received

   information from multiple independent parties that Ellis/Amarcya had plagiarized her books.

   The subsequent Takedown Letters filed by Defendant Cain/Soto’s publisher, Blushing

   Books, were well-researched, well documented, specifically-outlined demonstratives

   conveying their joint and well-founded beliefs that Zoey Ellis/ Zuri Amarcya had plagiarized

   Cain/Soto/Soto’s work.



46. The Plaintiffs have argued throughout the complaint that Blushing has defamed and harassed

   them. However, the sole piece of communication between Blushing and Plaintiff is a private

   electronic message wherein Blushing attempts to devise an amicable, discreet method of
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 19 of 22




   resolving the dispute. No public communications were made by Blushing Books regarding

   this dispute.



47. At the very least, Plaintiff Ellis is a limited purpose public figure. Further, Ms. Cain/Soto’s

   statements on social media are constitutionally-protected and therefore nonactionable,

   especially because the comments arose from a public online dispute between a prominent

   writer (Cain/Soto) and one of her rivals. Defamation law supplies robust protection for

   opinions.



48. Plaintiffs cannot plead and prove actual malice, a federal constitutional requirement for

   defamation claims asserted by public figures, for the reasons stated above. Thus, Plaintiffs

   cannot show any probability that she will prevail on her claim. The Court should disregard

   this section, because Plaintiffs have not pled, and will never be able to plead, a valid claim

   for defamation.



49. Because defamation per se does not apply, these claims should be disregarded. Plaintiff must

   plead and prove actual damages to recover for defamation. Plaintiff has not alleged actual

   damages. Her only allegations of damages are general allegations that she lost unspecified

   business as a result of the Takedown Letters. Plaintiff cannot, additionally, establish a causal

   relationship between the Takedown Letters and damages. Again, the Complaint contains no

   specific damages or figures corroborating those damages.

COUNT VII – FALSE LIGHT: Responding to Complaint Paragraphs 101-107
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 20 of 22




Defendant incorporates and cross references each and every response and argument provided

throughout this document as if repeated herein.



50. Any negative publicity Plaintiffs experienced as a result of Defendants filing Takedown

   Letters came as a result of the. public controversy they both created and fueled in an online

   public website. Indeed, shortly after filing the Complaint, Plaintiff even created a website

   to broadcast this dispute. The Complaint does not and cannot specify any economic harm

   that Plaintiff allegedly has suffered as a result of the Takedown Letters as opposed to the

   many other aspects of her public internet attack campaign against Blushing Books.



51. Further, Plaintiffs do not prove actual malice (reckless disregard for the truth) because the

   standard requires conscious disregard of actual evidence that the statement is false, i.e., that

   Blushing, at the time they filed the Takedown Letters, entertained “serious doubts” about the

   veracity of the statements, that is, a “high degree of awareness” that the comments were

   probably false. St. Amant v. Thompson, 390 U.S. 727, 731 (1968). Plaintiff cannot show this,

   and the Complaint fails even to allege this—it merely pleads that Blushing said something

   without knowing whether it was true or not. This is not the standard for actual malice.

   Absent competent evidence that Blushing was actually aware that their comments were false

   or had information that would cause one to entertain serious doubts about their truth, Plaintiff

   cannot prove actual malice.

    COUNT IX – DECLARATORY JUDGMENT: Responding to paragraphs 108-112.

52. This section seems to indicate that, because Plaintiff Ellis’s works may have infringed on

   Defendant Soto/Cain’s intellectual property, that amounts to a controversy such that this
          Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 21 of 22




   court must adjudicate the matter. Plaintiff, not Defendants, brought this action, and elected

   to bring it in an improper forum.



53. Further, the Complaint is insufficient on its face for the court to adjudicate these claims.



54. The Defendant denies the allegations set forth in the Complaint by Plaintiffs Quill and Ellis.

                                          CONCLUSION

55. For the reasons set forth above, this civil action should be DISMISSED for lack of personal

   jurisdiction and improper venue, or, if this Court finds that it is in the interests of justice,

   TRANSFERRED to the District of Virginia pursuant to 28 U.S.C. § 1406(a). 28 U.S.C. §

   1631 provides another mechanism for the transfer of an action filed where personal

   jurisdiction is lacking. See Trujillo v. Williams, 465 F.3d 1210, 1223 (10th Cir.

   2006)(transferring case under 28 U.S. C. § 1631 where personal jurisdiction and venue were

   lacking).

                                    REQUEST FOR RELIEF



56. WHEREFORE, Defendant Blushing Books, requests the following relief:



   1) Dismissal of the action;

   2) Defendant Blushing Books’ Attorneys’ fees pursuant to 17 U.S.C. § 505, other portions

       of the COPYRIGHT ACT, or as otherwise allowed by law;

   3) Defendant’s recoverable costs; and

   4) Any further relief as the Court deems just and equitable.
         Case 5:18-cv-00920-G Document 19 Filed 11/26/18 Page 22 of 22




Respectfully Submitted,
/s/ Rebecca Briggs
 REBECCA BRIGGS, #40626 (CO) & #91362 (VCC)
 Attorney at Law
 The Law Office of Becky Briggs, LLC
 Dated: November 26, 2018


CERTIFICATE OF SERVICE

I hereby certify that on this 26th day of November, 2018, I
electronically transmitted the attached document to the Court
Clerk using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of
Electronic Filing to the following ECF registrants (names
only are sufficient):


Gideon A. Lincecum glincecum@holladaychilton.com

Dylan D. Erwin derwin@holladychilton.com

Shawn
                     /s/ Rebecca Briggs
